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                                      MINUTES
                                                                  FILED IN THE
                                                         UNITED STATES DISTRICT COURT
                                                              DISTRICT OF HAWAII

                                                               7/3/2006 4:30 pm

                                                               SUE BEITIA, CLERK

 CASE NUMBER:            CIVIL NO. 04-00413DAE-LEK
 CASE NAME:              Na Pali Haweo Community Association, a Hawaii non-profit
                         corporation vs. Anthony Charles Grande, et al.
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


       JUDGE:      Leslie E. Kobayashi           REPORTER:

       DATE:       7/3/2006                      TIME:


COURT ACTION: EO: Discovery is stayed for 30 days from 6/30/06, with the
exception of Defendants’ Appeal of this Court’s Denial of Defendants’ Motion for
Reconsideration, no motions shall be filed until after 7/30/06, and all unexpired deadlines
are continued for 30 days.

The following are continued:

Non-Dispositive Motions previously due 9/13/06 are now due 10/13/06.
Dispositive Motions previously due 7/12/06 are now due 8/11/06.
Defendant’s Expert Witness Disclosures previously due 7/12/06 are now due 8/11/06.
Discovery Deadline previously set for 10/13/06 is now 11/13/06.

Cc: all counsel

Submitted by: Warren N. Nakamura, Courtroom Manager
